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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA
 UNITED STATES OF AMERICA

         Plaintiff,

 VS.                                                2:13-CR-0361 KJD-GWF

 ALIA BOBER,                                       MINUTES OF THE COURT

        Defendant,                                    Dated: July 27, 2015

PRESENT:

THE HONORABLE KENT J. DAWSON, U.S. DISTRICT JUDGE

DEPUTY CLERK:         EILEEN WOOD          COURT RECORDER: ALANA KAMAKA

PRESENT FOR PLAINTIFF:             ROBERT KNIEF

PRESENT FOR DEFENDANT:             ANTHONY SGRO and CHRISTOPHER ORAM

U.S. PROBATION: TIFFANY ELWESS and WENDY BECKNER

SENTENCING -

       Proceedings begin at 9:05 AM. All parties are present.

       The Court canvasses hears arguments of counsel and Probation Officer Beckner
regarding the Presentence Report. The Court DENIES Defendant’s request to put
Probation Officers and Report Writers on the witness stand.

       Chauncy Anderson called as a witness for the Government. Direct examination
by Mr. Knief, cross examination by Mr. Oram, re-direct by Mr. Knief, re-cross by Mr. Knief.
Witness is excused.

       Court recesses for other matters.

       11:02 AM - Court reconvenes. All parties are present.

       David Hardt, Special Agent Homeland Security - called as a witness for the
Government. Direct examination by Mr. Knief, cross examination by Mr. Oram, re-direct
by Mr. Knief, re-cross by Mr. Oram. Government exhibits: 7 (electronic format, copy will
be provided to Court), 1A-1E, 2A-2L, 3, 4A-4D, 5, 6 - ADMITTED.
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      12:08 PM - Court recesses.

      1:00 PM - Court reconvenes. All parties are present. Defense counsel requests
sidebar.

      The Court adjudicates the Defendant guilty.

      Rictoria Bober and Dr. Paul Bober address the Court.

      Sentencing is continued to 8/6/15 at 9:00AM.

      Defendant is remanded.



                                               LANCE S. WILSON, CLERK
                                               UNITED STATES DISTRICT COURT

                                               /s/ Eileen Wood
                                               DEPUTY CLERK
